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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       Orlando DIVISION

In re:
                                                                                     Case No.: 14-05012
                                                                                               Chapter 7
TARONICA WHITE


                         Debtor(s)          /

   MOTION FOR AUTHORITY TO PAY $9,664.00 TO INTERNAL REVENUE SERVICE

           Trustee, Arvind Mahendru, moves for entry of an Order granting the Trustee authority to

pay $9,664.00, to the Internal Revenue Service for estate tax liability, and as grounds therefore

states :

           1. The estate has received capital gains in connection with the settlement of a class action

suit in the amount of $74,382.24.

           2. The estate’s tax return for the 2018 tax year indicates a tax liability to the Internal

Revenue Service of $9,664.00.

                NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

        Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within (21) twenty-one
days from the date set forth on the attached proof of service, plus an additional three days for
service if any party was served by U.S. Mail. If you object to the relief requested in this paper, you
must file a response with the Clerk of the Court at 400 W. Washington St., Suite 5100, Orlando,
Florida 32801and serve a copy on Arvind Mahendru, Trustee, 5703 Red Bug Lake Road #284,
Winter Springs, Florida 32708 and any other appropriate persons within the time allowed.
        If you file and serve a response within the time permitted, the Court will either schedule
and notify you of a hearing, or consider the response and grant or deny the relief requested without
a hearing. If you do not file a response within the time permitted, the Court will consider that you
do not oppose the relief requested in the paper, will proceed to consider the paper without further
notice or hearing, and may grant the relief requested.

           Wherefore, Trustee moves the Court to enter an Order granting trustee authority to pay

$9,664.00 to the Internal Revenue Service for the estate’s tax liability.
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                                                     /s/Arvind Mahendru, Esq.
                                                     Arvind Mahendru, Esq.
                                                     5703 Red Bug Lake Rd #284
                                                     Winter Springs, Florida 32708
                                                     Telephone (407) 504-2462
                                                     E-mail: amtrustee@gmail.com



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Motion has been furnished
by United States Mail or by electronic delivery to all persons on the mailing matrix, attached
hereto and furnished by the Clerk of the Bankruptcy Court on July 26, 2018.

                                                     /s/Arvind Mahendru
                                                     Arvind Mahendru
